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                                                                       FILED
                  IN THE UNITED STATES DISTRICT COURT                   JAN 15 2015
                      FOR THE DISTRICT OF MONTANA                    Clerk, us.
                             MISSOULA DIVISION                         DistriCt O?~tnct COUrt
                                                                           MjssoU/~ntana

 UNITED STATES OF AMERICA,                            CR-14-36-M-DLC
                     Plaintiff,                      FINDINGS AND
                                                   RECOMMENDATION
        vs.                                        CONCERNING PLEA
 ASHLEY CHANTEL MILLARD,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to distribute

methamphetamine in violation of 21 U.S.C. § 846 (Count I), as set forth in the

Indictment. In exchange for Defendant's plea, the United States has 'agreed to

dismiss Counts II-VII of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,



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      2. That the Defendant is aware of the nature of the charge against her and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

the Indictment, and that sentence be imposed. I further recommend that Counts II­

VII of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision reeardine acceptance until the Court has reviewed the Plea

Aereement and the presentence report.

      DATED this 15 th day of Janua


                                           miah C. Lynch
                                          ited States Magistrate Judge

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